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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




RODNEY ALSUP,                                )
                                             )
             Plaintiff,                      )
                                             )             CIVIL ACTION NO.
VS.                                          )
                                             )             3:15-CV-1708-G (BN)
LIFE INSURANCE COMPANY OF                    )
NORTH AMERICA,                               )
                                             )
             Defendant.                      )




                          AGREED ORDER OF DISMISSAL


      On this day this court considered the unopposed motion of plaintiff to dismiss

(docket entry 28) all claims against defendant with prejudice and finds that the

motion is well taken.

      It is therefore ORDERED, ADJUDGED and DECREED that plaintiff’s

motion to dismiss all claims against defendant with prejudice is GRANTED and all

claims and causes of action by plaintiff against defendant are DISMISSED with

prejudice.

      No additional claims by any party are pending in this action against any party,

and this dismissal order is a final judgment disposing of all claims in this action.
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     Costs of court and attorney’s fees are to be borne by the party incurring same.


December 29, 2015.


                                      ___________________________________
                                      A. JOE FISH
                                      Senior United States District Judge




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